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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                   _
                                    )
 EDWARD PRITZKAU                    )
      Plaintiff,                    )
                                    )
                                    )
 v.                                 ) Civil Action No. 4:13-cv- 00206
                                    )
                                    )
 COMMERCIAL RECOVERY SYSTEMS, INC., )
 JOHN DOES, and JANE DOES           )
      Defendants,                   )
                                    )




 COMPLAINT AND DEMAND FOR JURY TRIAL



                  I.      INTRODUCTION


 1. This is an action for actual and statutory damages brought by plaintiff Edward

 Pritzkau, an individual consumer, against Defendants’ violations of the law, including,

 but not limited to violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

 et seq. (hereinafter ‘‘FDCPA’’) which prohibits debt collectors from engaging in abusive,

 deceptive, and unfair practices; by these Defendants and their agents in their illegal

 efforts to collect a consumer debt from Plaintiff.
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                   II.     JURISDICTION


 2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), which states that such

 actions may be brought and heard before, “[A]ny appropriate United States district court

 without regard to the amount in controversy,” and also under 28 U.S.C. § 1331 and 1337.



 3. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(1) in that the

 defendants reside here, and all known defendants are residents of the State in which the

 district is located. Since Defendants transact business and resides here, personal

 jurisdiction is established.



                   III.    PARTIES


 4. Plaintiff, Edward Pritzkau (hereinafter “Plaintiff”) is a consumer, as that term is

 defined by 15 U.S.C. § 1692a(3), as well as a natural person allegedly obligated to pay

 any debt, residing in Collin County, in the state of Texas.



 5. Defendant, Commercial Recovery Systems, Inc. (hereinafter “CRS”) is a collection

 agency and limited partnership engaged in the business of collecting debt in this state

 with its principal place of business located in Harris County, in the state of Texas at 8035

 E. RL Thornton, Suite 220, Dallas, Texas 75228.



 6. Defendant John Does 1-10 (hereinafter “Defendant John Does”) are natural person(s)

 who were employed by Defendant as collection agents, whose identities are currently
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 unknown to Plaintiff. Defendant John Does are “debt collectors” as that term is defined

 by the FDCPA, 15 U.S.C. § 1692a(6). One or more of the Collectors may be joined as

 parties once their identities are disclosed through discovery.



 7. Defendant Jane Does 1-10 (hereinafter “Defendant Jane Does”) are natural person(s)

 who was employed by Defendant as collection agents, whose identities are currently

 unknown to Plaintiff. Defendant Jane Does are “debt collectors” as that term is defined

 by the FDCPA, 15 U.S.C. § 1692a(6). One or more of the Collectors may be joined as

 parties once their identities are disclosed through discovery.



 8. Plaintiff is informed and believes, and thereon alleged, that Defendants use

 instrumentalities of interstate commerce or the mails in any business, the principal

 purpose of which being the collection of debts. Defendants are engaged in the collection

 of debts from consumers using the mail, electronic mail, facsimile, and telephone, and

 regularly collects or attempts to collect, directly or indirectly, debts owed or due or

 alleged to be owed or due another, being a ‘‘debt collector’’ as defined by the FDCPA,

 15 U.S.C. § 1692a(6).



 9. At all relevant times, Defendant CRS acted through its duly authorized agents,

 employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

 sureties, subrogees, representatives, and insurers.
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                   IV.    FACTUAL ALLEGATIONS


 10. Sometime before 2013, Plaintiff, Edward Pritzkau, incurred a financial obligation

 that was primarily for personal, family, or household purposes and is therefore a ‘debt’,

 as that term is defined by the FDCPA, 15 U.S.C. § 1692a(5).



 11. Upon information and belief, at some point the alleged debt was consigned, placed or

 otherwise transferred to Defendants for collection from Plaintiff Edward Pritzkau.



 12. The debt that Defendants are attempting to collect on is an alleged obligation of a

 consumer to pay money arising out of a transaction in which the money, property,

 insurance or services which are the subject of the transaction are primarily for personal,

 family, or household purposes, whether or not such obligation has been reduced to

 judgment, as, again, defined by the FDCPA, 15 U.S.C. § 1692a(5).



 13. Defendants then within one year prior to the filing of this complaint, threatened to

 garnish Plaintiff’s wages themselves, and to have a sheriff sent to his home to take any of

 his assets, making misleading communications implying the immediacy by which this

 would occur in the event of Plaintiff not making immediate payment, when they could

 not do what they threatened, in violation of the FDCPA. Defendants made these

 statements while demanding immediate payment within thirty (30) days of their initial

 communication with Plaintiff without also stating that Plaintiff still could dispute and/or

 seek validation of the alleged debt, thereby overshadowing Plaintiff’s rights under the

 FDCPA.
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 14. Defendants, during attempts to contact Plaintiff, within one year prior to the filing of

 this complaint, alerted third parties who were unrelated to the alleged debt to Plaintiff’s

 alleged debt, without his consent, and with the contact being for emergency purposes.



 15. As a result of the acts alleged above, Defendants caused Plaintiff to become very

 upset because of the aggressive manner in which this alleged debt was collected by these

 Defendants.



 16. Plaintiff suffered actual damages as a result of these illegal collection

 communications by these Defendants in the form of anger, anxiety, embarrassment,

 humiliation, emotional distress, frustration, and upset, amongst other negative emotions.



 17. Defendants’ illegal abusive collection communications as more fully described above

 were the direct and proximate cause of emotional distress on the part of Plaintiff.



                  V.      CAUSES OF ACTION

                              COUNT I
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. § 1692 et seq.


 18. Plaintiff Edward Pritzkau repeats, realleges, and incorporates by reference all of the

 above paragraphs of this Complaint as though fully stated herein.
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 19. The foregoing acts and omissions of each Defendant and their agents constitute

 numerous and multiple violations of the FDCPA including, but not limited to, each and

 every one of the provisions of the FDCPA, 15 U.S.C. § 1692 et seq., cited above, and

 below, with respect to Plaintiff:



                (a) Defendants violated §1692f of the FDCPA by using unfair or

                     unconscionable means in connection with the collection of an alleged

                     debt; and



                (b) Defendants violated §1692c(b) of the FDCPA by contacting third

                    parties in connection with the collection of the alleged debt without the

                    consent of the Plaintiff and with the contact not being in a manner

                    covered by §1692(b) of the FDCPA; and



                (c) Defendants violated §1692e(10) of the FDCPA by using false,

                    deceptive, or misleading representation or means in connection with

                    the collection of Plaintiff’s alleged debt; and



                (d) Defendants violated §1692e(2)(B) of the FDCPA by falsely

                    representing the services rendered or compensation which may be

                    lawfully received by Defendants for the collection of the alleged debt;

                    and



                (e) Defendants violated §1692e(5) of the FDCPA by threatening to take
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                    action that it did not intend to take.



 20. Defendants’ acts as described above were done intentionally with the purpose of

 coercing Plaintiff to pay the alleged debt.



 21. As a result of the foregoing violations of the FDCPA, Defendants are liable to the

 Plaintiff for actual damages pursuant to 15 U.S.C. § 1692k(a)(1), statutory damages in an

 amount up to $1000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A), and reasonable costs and

 attorney fees pursuant to 15 U.S.C. § 1692k(a)(3), from each Defendant herein.



                   VI.    PRAYER FOR RELIEF



 WHEREFORE, Plaintiff Edward Pritzkau respectfully requests that judgment be entered

 against each Defendant for the following:



 A. Actual damages from each Defendant pursuant to 15 U.S.C. § 1692k(a)(1) for the

 emotional distress suffered as a result of the intentional and/or negligent FDCPA

 violations; in an amount to be determined at trial and for Plaintiff.



 B. Statutory damages of $1000.00 from each Defendant pursuant to 15 U.S.C. §

 1692k(a)(2)(A).
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 C. Costs and reasonable attorney fees from each Defendant and for Plaintiff pursuant to

 15 U.S.C. § 1692k(a)(3).



 D. For such other and further relief as the Court may deem just and proper.



 Dated: April 8, 2013                                  RESPECTFULLY SUBMITTED,
                                                       By: /s/ Kevin Crick
                                                       Kevin Crick
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                                                       Attorney for Plaintiff


                              DEMAND FOR JURY TRIAL

 Please take notice that Plaintiff Edward Pritzkau demands trial by jury in this action on

 all issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.
